                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


In re:                                                 Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a                In Proceedings Under
M-Den, Inc., d/b/a The M Den                           Chapter 11

                                                       Hon. Thomas J. Tucker
                    Debtor.
                                          /

          DEBTOR’S MOTION FOR ENTRY OF AN ORDER
   (I) APPROVING LIDS HOLDINGS, INC., OR ITS DESIGNATED
SUBSIDIARY AS STALKING HORSE BIDDER, (II) AUTHORIZING THE
 DEBTOR’S ENTRY INTO AN ASSET PURCHASE AGREEMENT, (III)
 AUTHORIZING THE SALE OF THE DEBTOR’S ASSETS FREE AND
 CLEAR OF ALL ENCUMBRANCES, (IV) APPROVING CERTAIN BID
      PROCEDURES, BID PROTECTIONS AND DEADLINES, (V)
               SCHEDULING A SALE HEARING,
             AND (VI) GRANTING RELATED RELIEF

         Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc., d/b/a The M Den

(“Debtor”), by and through its undersigned proposed counsel, hereby files this

Motion for Entry of an Order (I) Approving Lids Holdings, Inc., or its designated

subsidiary as Stalking Horse Bidder, (II) Authorizing the Debtor’s Entry Into An

Asset Purchase Agreement, (III) Authorizing The Sale of the Debtor’s Assets Free

and Clear of All Encumbrances, (IV) Approving Certain Bid Procedures, Bid

Protections and Deadlines, (V) Scheduling a Sale Hearing, And (VI) Granting




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Related Relief (the “Motion”). In support of the Motion, the Debtor respectfully

states as follows:

                           JURISDICTION AND VENUE
         1.    This Court has jurisdiction over these matters pursuant to 28 U.S.C.

§§ 157 and 1334.

         2.    This is a core proceeding pursuant to 28 U.S.C. § 157(b).

         3.    Venue of this chapter 11 case in this District is proper pursuant to 28

U.S.C. §§ 1408 and 1409.

                                  BACKGROUND

         4.    On August 16, 2024 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under Chapter 11 of Title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District

of Michigan (the “Court”).

         5.    Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, the

Debtor is operating its business and managing its property as debtor-in-possession.

No trustees or examiners have been appointed in this case.




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         6.    Debtor has been operating the largest retail operation of the University

of Michigan (the “University”) branded clothing and other merchandise for almost

fifty (50) years. See DN 15 at ¶ 91.

         7.    For the last thirty (30) years 2 , the Debtor has been the official

merchandise retailer of the University of Michigan Athletics, including a link to

Debtor’s website on the University of Michigan Athletics’ website, pursuant to a

June 21, 2010, licensing agreement and amendments, and prior agreements

between the University and the Debtor (collectively the “Licensing Agreement”).

See DN 15 at ¶ 10.

         8.    The University purported to terminate the Debtor’s right under the

Licensing Agreement (including its right to be the University’s official

merchandise retailer, as well as the Debtor’s right to use the “M Den” name and

URL) effective May 13, 2024. See DN 15 at ¶ 11.

         9.    The Debtor and the University subsequently entered into a

Forbearance Agreement (retroactively effective to May 13) pursuant to which the




1
 The Declaration of Scott Hirth in Support of Debtor’s Chapter 11 Petition and
First Day Motions (“Hirth Declaration”) describes Debtor’s background. See Hirth
Declaration at DN 15.
2
 This thirty-year stretch was interrupted in 2009 when the Debtor’s status as the
University’s official merchandise retailer was terminated for one year and then
reinstated.

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Debtor was authorized to continue to use the “M Den” name and URL and

continued as the official merchandise retailer. See DN 15 at ¶ 12.

         10.   The Forbearance Agreement was terminated by the University

effective June 11, 2024, but the University allowed the Debtor to continue

operating as if the Forbearance Agreement remained in effect in order to minimize

disruption while the University looked for a new official merchandise retailer and

the Debtor pursued a going concern sale. See DN 15 at ¶ 13.

         11.   This continued until August 15, 2024, when the University demanded

in writing that the Debtor cease and desist from further use of the “M Den” name

and URL. See DN 15 at ¶ 14.

         12.   Until very recently, Debtor operated from five separate retail locations

and sold merchandise through the MDEN.com website. See DN 15 at ¶ 15.

         13.   Debtor’s largest store by far is located on State Street in Ann Arbor

(the “Flagship Store”). The Debtor has also operated from stores located (i) on

Main Street in Ann Arbor, (i) in the Briarwood Mall in Ann Arbor (iii) in the

Twelve Oaks Mall in Novi, and (iv) on Columbia Street in Detroit. See DN 15 at ¶

16.

         14.   The Debtor ceased operating its Twelve Oaks Mall location on August

16, 2024, and ceased operating at Briarwood Mall and Columbia Street in Detroit




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on August 19, 2024. The Debtor is in the process of moving its assets out of these

three locations. See DN 15 at ¶ 17.

         15.   As a result, Debtor currently has two brick and mortar locations: (i)

the Flagship Store, and (ii) the Main Street store.        In addition, Debtor sells

merchandise from a tent located at the corner of Stadium and Main Streets in Ann

Arbor (directly across the street from Michigan Stadium) on game days, graduation

days and other special events (the “Corner Lot”). See DN 15 at ¶ 18.

         16.   Debtor has covered the M Den signs at its two operating stores and

has taken down the mden.com website.

         17.   Previously, the Debtor sold merchandise on game days inside

Michigan Stadium and the University’s retail locations at various other sports

venues, but it does not anticipate doing so going forward. See DN 15 at ¶ 19.



         A.    History of Marketing and Negotiations Related to Proposed Sale

         18.   In February of this year, with the encouragement of the University,

the Debtor began contemplating a sale of its assets and looking for interested

purchasers.

         19.   The University was also looking for someone to become its official

merchandise retailer, which retailer would naturally also be a potential purchaser

of Debtor’s assets.



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         20.   One of the first parties the Debtor spoke to was Lids Holdings, Inc.,

(“Lids”) and affiliate of Ames Watson, LLC, and Fanatics Holdings, Inc., who, for

the past several years, had shown interest in purchasing the Debtor.

         21.   Debtor spent several months negotiating with Lids in an effort to

secure a purchase price that would result in the payment of all its creditors, but the

price proved to be too high and the negotiations stalled.

         22.   Around the same time, the Debtor reached out to the Champions

Circle - Michigan Wolverines Collective (“Champion Circle”)3 to solicit offers and

locate potential interested buyers.

         23.   Contacts at the Champion Circle introduced Debtor to a second global

corporation specializing in sale of collegiate athletic merchandise (the “Interested

Party”)4.




3
  The Champion Circle was founding in June 2022 by former Michigan Football
player, Jared Wangler and Valiant Management Group, a Michigan based sports
marketing agency. According to its website, the Champion Circle is guided by a
leadership circle consisting of Nate Forbes, Matt Lester, Navid Mahmoodzadegan
and Tim Smith. The collective also has an advisory board, providing strategic
guidance to the collective. Current board members include Jimmy King, Sierra
Romero, John Wangler and Chris Wormley. Together the members Champion
Circle and its leadership and board of directors have substantial industry contacts
and purchasing power.
4
  The Debtor executed a Non-Disclosure Agreement with the Interested Party
which limits its ability to identify the Interested Party in this Motion.

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         24.   The Debtor spent several months negotiating with this Interested

Party. As with the Lids negotiations, the Debtor sought a purchase price sufficient

to pay its creditors in full.

         25.   Unfortunately, as with Lids, the Debtor was unable to achieve an offer

sufficient to pay creditors in full.

         26.   The Debtor continued to negotiate with Lids and the Interested Party

and ultimately secured a binding term sheet (the “Stalking Horse Bid”) from Lids.5

See Stalking Horse Bid attached as Exhibit B.

         B.    The Stalking Horse Bid

         27.   The Stalking Horse Bid provides that Debtor will sell substantially all

of its assets, including (i) all inventory, (ii) all PP&E, (iii) all intellectual property,

including the right to use the “M Den” name – if any, and (iv) all claims or causes

of action related to the right to use the “M Den” name6 (the “Assets”) to Lids.

         28.   The purchase price in the Stalking Horse Bid is sixty-two percent

(62%) of the cost value of Debtor’s inventory on hand at the time of closing 7. The



5
  The Stalking Horse Bid identifies the purchaser as Lids Holdings, Inc., or its
designated subsidiary, which is an affiliate of Fanatics.
6
  Debtor transferred to the University the right to the M Den name under a
Forbearance Agreement dated May 13, 2024 (the “Forbearance Agreement”) in
exchange for an extremely short forbearance. This transfer may be subject to
avoidable transfer or other claims.
7
  Based on Debtor’s cash collateral budget, the purchase price on September 13,
2024 would be approximately $4,250,000.

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Debtor will continue operations until the sale closes, which means the purchase

price will go down with every sale made during this period.

         29.   The Stalking Horse Bid contemplates that Lids will assume the

Debtor’s leases related to its Flagship Store, Main Street store, the Corner Lot and

the Warehouse8, and that Lids expects to offer employment to substantially all of

Debtor’s employees whose work primarily relates to these retail locations, the

corporate office and Warehouse.

         30.   Because the University of Michigan football season starts on August

31, 2024, and begins with five consecutive weeks of home games at Michigan

Stadium, Lids is requiring a short timeline to close the sale.

         31.   The Stalking Horse Bid expires if the sale does not close by

September 20, 2024.

         32.   The Debtor understands that the Interested Party would also demand

that the sale close on a similar timeline.

         33.   The Potential Purchasers understandably want to close the sale while

there are still several home football games remaining in the season. Home football


8
 The Debtor is party to (i) a Lease Agreement with third party landlord, 315-317
SMS, LLC, for the Main Street store, and (ii) a Business Property Lease with third
party landlord E&J Associates, LLC commercial leases for a portion of the
Flagship Store. As set forth in the Notice section below, E&J Associates, LLC and
315-317 SMS, LLC will receive notice of this Motion and all related filings. The
Warehouse and Corner Lot are owned by entities with common ownership and
control with the Debtor and as a result no separate notice is needed.

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games are the source of substantial revenue that any purchaser will want to recoup

in order to offset the purchase price and to carrying cost associated with the slower

months.

         34.   Closing the purchase of Debtor’s Assets after the University’s home

football games have been played is like closing on the purchase of a beach resort in

November. The purchaser would not expect to see significant profits until the

following season which will drive down the purchase price.

         35.   As a result, the Debtor is proposing an expedited timeline to hold an

auction sale of its Assets in accordance with the Bid Procedures (“Auction”) and

has filed contemporaneously herewith a motion for an expedited hearing on this

Motion.



                             RELIEF REQUESTED

         36.   By this Motion, the Debtor requests that the Court enter an order,

substantially in the form attached hereto as Exhibit A (the “Bidding Procedures

Order”): (i) approving the bidding procedures set forth below (the “Bidding

Procedures”) in connection with the sale of the Debtor’s Assets; (ii) establishing

the procedure for scheduling the Auction; and (iii) approving the notice of the

Auction.




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         37.   The Debtor requests that the Court schedule a hearing on this Motion

to approve the sale of the Debtor’s Assets to the Winning Bidder (defined below)

on September 12, 2024 (the “Sale Hearing”).

         38.   The Debtor seeks, at the conclusion of the Sale Hearing (defined

below), entry of an order (a) authorizing the sale of the Debtor’s property to Lids,

or such other person or entity that is the Winning Bidder (defined in the Bidding

Procedures), with such sale being free and clear of all liens, claims, and

encumbrances, (b) authorizing the assumption and assignment of certain executory

contracts and unexpired leases to the Winning Bidder, and (c) granting certain

related relief (the “Sale Order”).


                          PROPOSED BID PROCEDURES

         39.   The Debtor intends to implement the Bidding Procedures set forth on

the attached Exhibit C. The Debtor reserves the right to modify the Bidding

Procedures as necessary or as it deems appropriate to maximize value for its estate,

creditors, and other parties in interest.




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                                BASIS FOR RELIEF


         A.    The Bidding Procedures are Fair and are Designed to Maximize
               the Value Received for the Assets Given the Circumstances

         40.     Courts have made it clear that a debtor’s business judgment is

entitled to substantial deference with respect to the procedures to be used in selling

assets of the estate. See, e.g., United States Trustee v. Bethlehem Steel Corp. (In re

Bethlehem Steel Corp.), 2003 U.S. Dist. LEXIS 12909, at *30 n.13 (Bankr.

S.D.N.Y. 2003) (“In negotiated section 363(b) sales . . . it may sometimes be

necessary to offer incentives to bidders in order to maximize the price obtained. In

general, the trustee or debtor in possession . . . should be able to exercise judgment

with respect to bidding incentives. Consequently . . . the court should approve

such agreements unless they are unreasonable or appear more likely to chill the

bidding process than to enhance it.”) (quoting 3 Collier on Bankruptcy 363.03[7]

(15th ed. 2002)); Calpine Corp. v. O’Brien Envtl. Energy, Inc. (In re O’Brien Envtl.

Energy, Inc.), 181 F.3d 527, 535-37 (3d Cir. 1999) (detailing situations where

bidding incentives are appropriate in bankruptcy because they provide a benefit to

the estate); In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998) (“The

purpose of procedural bidding orders is to facilitate an open and fair public sale

designed to maximize value for the estate.”); In re After Six, Inc., 154 B.R. 876,




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881 (Bankr. E.D. Pa. 1993) (noting that courts should defer to the debtor’s business

judgment with respect to bidding on assets).

         41.   The paramount goal in any proposed sale of estate property is to

maximize the proceeds received by the debtor’s estate. See, e.g., In re Dura Auto

Sys., 2007 Bankr. LEXIS 2764, at *253 (Bankr. Del. 2007) (“The paramount goal in

any proposed sale of property of the estate is to maximize the proceeds received by

the estate.”); In re Mushroom Transp. Co., Inc., 382 F.3d 325, 339 (3rd Cir.

2004) (debtor-in-possession “had a fiduciary duty to protect and maximize the

estate's assets”); Official Comm. of Unsecured Creditors of Cybergenics Corp., v.

Chinery, 330 F.3d 548, 573 (3rd Cir. 2003) (same); In re Food Barn Stores, Inc., 107

F.3d 558, 564-565 (8th Cir. 1997) (in bankruptcy sales, “a primary objective of the

[Bankruptcy] Code [is] to enhance the value of the estate at hand.”); Integrated

Resources, 147 B.R. at 696 (“It is a well-established principle of bankruptcy law that

the . . . [debtor’s] duty with respect to such sales is to obtain the highest price or

greatest overall benefit possible for the estate.”) (quoting In re Atlanta Packaging

Prods., Inc., 99 B.R. 124, 130 (Bankr. N.D. Ga. 1988)).

         42.   To accomplish that goal, courts uniformly recognize that procedures

intended to enhance competitive bidding are consistent with the goal of

maximizing the value received by the estate and therefore are appropriate in the

context of bankruptcy sales. In re Dura Auto Sys., 2007 Bankr. LEXIS 2764, at



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*254 (Bankr. Del. 2007) (“Courts recognize that procedures intended to enhance

competitive bidding are consistent with the goal of maximizing the value received

by the estate and therefore are appropriate in the context of bankruptcy sales.”); see

also In re Fin’l News Network, Inc., 126 B.R. 152, 156 (Bankr. S.D. N.Y. 1991)

(“court-imposed rules for the disposition of assets . . . [should] provide an adequate

basis for comparison of offers, and [should] provide for a fair and efficient

resolution of bankrupt estates”); Integrated Resources, Inc., 147 B.R. at 659

(bidding procedures “encourage bidding and . . . maximize the value of the

debtor’s assets.”).

         43.   Debtor acknowledges that the timelines requested in this Motion are

extremely fast. However, Debtor believes that these timelines are justified under

the circumstances and are likely to result in the highest amount paid to the Debtor

by the eventual purchaser.

         44.   Both the University 9 and the Debtor have been trying to locate a

purchaser for the Assets since at least February of this year.

         45.   The Debtor received the Stalking Horse Bid after months of

negotiating with Lids and the Interested Party.




9
 The University has only been looking for a new official retail partner. But the
expectations have always been that the University’s new official partner would
have an interest in purchasing the Debtor’s assets.

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         46.   The Stalking Horse Bid is contingent on an expedited sale process

because Lids wants to purchase the Debtor’s assets early in the University of

Michigan football season.

         47.   The Debtor believes it will risk losing the Stalking Horse Bid and the

interest of the Interested Party if the sale is not completed early in the football

season.

         48.   As a result, the Debtor believes that offering an aggressive closing

deadline will result in at least two parties bidding competitively, which has the

potential to drive up the price dramatically.

         49.   In sum, there are three primary reasons why this aggressive timeline

will result in the highest purchase price are (i) there are only two likely bidders for

the Assets and both support this timeline, and (ii) the price paid for the Assets will

be a function of the amount of inventory on hand at the closing and Debtor will

continue to sell inventory up until closing, and (iii) the interest in purchasing

Debtor’s assets is likely to wane as the University of Michigan football season

progresses and the interest is highest now while the team plays home games for

five straight weeks commencing on August 31st.




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               (i)      Debtor Has Two Likely Bidders

         50.     Lids and the Interested Party (“Potential Bidders”) are both large

national retailers who have the ability to purchase Debtor’s assets without a

financing contingency and quickly take over Debtor’s operations.

         51.     Each of the Potential Bidders operates retail and online stores for

both NCAA and professional sports franchises.

         52.     Each of the Potential Bidders have been involved in discussions with

Debtor for the last several months and have had the opportunity to conduct

substantial due diligence.

         53.     Each of the Potential Bidders desire and consent to the proposed

expedited sale process.

         54.     Accordingly, the expedited sale process will keep the Potential

Bidders at the table and will provide the Debtor and its estate with the best

opportunity for a robust bidding process.

               (ii)     The Debtor’s Risk Goes Up Every Day

         56.   The purchase price is a function of the amount of inventory on the

date of closing.

         57.   Debtor’s cash collateral budget does not provide for the purchase of

any new inventory and Debtor does not anticipate purchasing any new inventory.

         58.   Accordingly, with every sale the purchase price goes down.



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         59.   With regard to Debtor’s inventory sales over the next couple of

weeks, Debtor expects to net more than 62% of the cost value of its inventory.

         60.   However, as time goes on and the Debtor’s prime inventory is sold,

Debtor risks not being able to net 62% of cost value on sale of the remaining

inventory. After this shift occurs, every sale will bring in less for the estate than it

receives under the Stalking Horse Bid.

         61.   As a result, the sooner the sale closes, the less risk the Debtor and

creditors face that continued operations will result in a loss to the estate.

               (iii)   A Larger Number of Home Footballs Games after
                       Closing Will Enhance the Sale Price.

         62.   Historically, Debtor’s sales increase by 300% on any weekend in

which the University plays a home football game.

         63.   The University opens its home football season on August 31, 2024,

which is the first of 5 consecutive home football games.

         64.   If a sale does not close until after September 27, 2024, the purchaser

will not be able to operate during any of the first 5 games, and will have only the

three games from October 26 through November 23 to operate this season.

         65.   The more home football games still to be played at the time of

closing, the more a purchaser will be willing to pay. The Debtor’s Assets simply

become less attractive and less valuable if a purchaser has to carry the Assets until

next season before generating a profit.

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         66.   The Bidding Procedures proposed herein are designed to maximize

the value received for the Assets by facilitating a competitive bidding process in

which all potential bidders are encouraged to participate and submit competing

bids, taking into account the financial exigencies facing the Debtor.

         67.   Given that the Potential Bidders have indicated that they will be able

to bid and participate in an Auction set in accordance with the Bidding

Procedures, the Debtor believes that the period between the filing of this Sale

Motion and the deadline for submission of bids provides a reasonable means for

maximizing the return from sale of the Assets under the circumstances.

         68.   At the same time, the Bidding Procedures provide the Debtor with the

opportunity to consider all competing offers and to select the highest or best offer

for the completion of the Sale. The Bidding Procedures and Auction process will

ensure that the consideration paid for the Assets will be fair, reasonable, and in the

best interest of the Debtor’s estate and its creditors, and there are sound business

reasons to approve the Bidding Procedures.

               (iv)   The Proposed Overbid Protections and Break-up Fee Are
                      Appropriate

         69.   The Stalking Horse Bid contains a break-up fee of $225,000 for the

Stalking Horse Bidder (“Break-up Fee”) to reimburse the Staking Horse Bidder for

the cost of due diligence and negotiations in the event it is not the Winning Bidder.




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         70.   The Break-up Fee was agreed upon in order to the Staking Horse

Bidder to submit the Stalking Horse Bid and pursue a transaction through the

proposed Auction and is in the best interest of the estate.

         71.   The Break-up Fee is reasonable and is in the best interest of the estate.

See In re JW Resources, Inc., 536 B.R. 193, 196 (Bankr. E.D. Ky. 2015).

         72.   In addition, the Bidding Procedures require a minimum “overbid”

amount in order for a bid to be a Qualified Bid (as that term is defined in the

Bidding Procedures). Under the Bidding Procedures, the Auction shall start at the

amount that is $250,000.00 more than the purchase price stated in the Auction Bid

(the “Starting Qualified Overbid”), and then continue in minimum increments of at

least $25,000.00 (the “Overbid Increment”).

         73.   The Debtor intends to conduct the Auction so that each bid at the

Auction is higher or otherwise better than the previous bid, and the Debtor retains

the right to modify both the Starting Qualified Overbid and the Overbid Increment

(collectively, the “Overbid Protections”) as appropriate. Under the circumstances,

incorporating the Overbid Protections in the Bidding Procedures is reasonable, and

will enable the Debtor to maximize the sale value of its assets while limiting any

chilling effect on the auction process.

         74.   Courts frequently authorize debtors to require a subsequent bidder to

include an overbid amount as part of an auction process if they do not unduly



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burden the debtor’s estate and the relative rights of the parties in interest are

protected. See In re Hupp Indus., 140 B.R. 191, 195-196 (Bankr. N.D. Ohio

1992).

         75.    The Debtor, in the exercise of its sound business judgment, believes

these Break-up Fee and the Overbid Protections are reasonable and will ensure that

the bidders are bidding in good faith.


         B.     The Sale of The Assets Free and Clear of Liens, Claims, and
                Interests Is Authorized Under Bankruptcy Code Sections
                363(b)(1) and 363(f)

         76.    At the conclusion of the Sale Hearing, the Debtor requests that the

Court approve the sale of its Assets to the Winning Bidder10. The Debtor submits

that the sale of its Assets pursuant to the Bidding Procedures is in the best interest

of the Debtor’s estate and its creditors.

         77.    Pursuant to Bankruptcy Rule 6004(f), sales of property outside the

ordinary course of business may be by private sale or auction.

         78.    Bankruptcy Code section 363(b)(1) provides that a debtor, “after

notice and a hearing, may use, sell, or lease, other than in the ordinary course of

business, property of the estate.” 11 U.S.C. § 363(b)(1). To approve the use, sale

or lease of property outside the ordinary course of business, this Court need only

10
  This portion of the relief is requested to be entered after the Sale Hearing in the
form of the Sale Order. The Debtor hereby reserves the right to file supplemental
pleadings in support of its request for entry of the Sale Order.

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determine that the Debtor’s decision is supported by “some articulated business

justification,” as established by the Second Circuit in Committee of Equity Sec.

Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2nd Cir.

1983), which decision has been adopted in this circuit. Institutional Creditors of

Continental Air Lines, Inc. v. Continental Air Lines, Inc., et al. (In re Continental

Air Lines, Inc.), 780 F.2d 1223, 1226 (5th Cir. 1986); see also, Fulton State Bank

v. Schipper, 933 F.2d 513, 515 (7th Cir. 1991); In re San Jacinto Glass Industries,

Inc., 93 B.R. 934, 944 (Bankr. S.D. Tex. 1988); In re Condere Corp., 228 B.R.

615, 628-69 (Bankr. S.D. Miss. 1998).

         79.   The business judgment rule shields a debtor’s management from

judicial second-guessing. See In re Johns-Manville Corp., 60 B.R. 612, 615-16

(Bankr. S.D.N.Y. 1986) (“a presumption of reasonableness attaches to a debtor's

management decisions”). Once a debtor articulates a valid business justification,

“[t]he business judgment rule ‘is a presumption that in making a business decision

the directors of a corporation acted on an informed basis, in good faith and in the

honest belief that the action was in the best interests of the company.’” In re

Integrated Resources, Inc., 147 B.R. 650, 656 (Bankr. S.D.N.Y. 1992) (quoting

Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985)).

         80.   Thus, if a debtor’s actions satisfy the business judgment rule, then the

transaction in question should be approved under section 363(b)(1). When



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applying the business judgment standard, courts show great deference to a debtor's

business decisions. See GBL Holding Co., Inc. v. Blackburn/Travis/Cole, Ltd., 331

B.R. 251, 254 (N.D. Tex. 2005); In re First Wellington Canyon Assocs., 1989 U.S.

Dist. LEXIS 10687, at *8-9 (N.D. Ill. September 8, 1989) (“Under this test, the

debtor’s business judgment . . . must be accorded deference unless shown that the

bankrupt’s decision was taken in bad faith or in gross abuse of the bankrupt's

retained discretion.”).

         81.   Bankruptcy Code section 363(f) authorizes a debtor to sell assets free

and clear of liens, claims, interests and encumbrances if:

                  i.      applicable nonbankruptcy law permits sale of such
                          property free and clear of such interests;
                  ii.     such entity consents;

                  iii.    such interest is a lien and the price at which such
                          property is to be sold is greater than the value of all liens
                          on such property;

                  iv.     such interest is in bona fide dispute; or

                  v.      such entity could be compelled, in a legal or equitable
                          proceeding, to accept a money satisfaction of such
                          interest.
         82.   This provision is supplemented by Bankruptcy Code section 105(a),

which provides that “[t]he Court may issue any order, process or judgment that is

necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” 11

U.S.C. § 105(a).




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         83.   Because Bankruptcy Code section 363(f) is drafted in the disjunctive,

satisfaction of any one of its five requirements will suffice to permit the sale of the

Assets free and clear of the interests. In re Nature Leisure Times, LLC, 2007 WL

4554276, *3 (Bankr. E.D. Tex. Dec. 19, 2007) (“The language of § 363(f) is in the

disjunctive such that a sale free and clear of an interest can be approved if any one

of the aforementioned conditions contained in § 363(f) are satisfied.”); In re

Wolverine Radio Co., 930 F.2d 1132, 1147 n.24 (6th Cir. 1991) (stating that

Bankruptcy Code section 363(f) is written in the disjunctive; holding that the court

may approve the sale ‘free and clear’ provided at least one of the subsections of

section 363(f) is met).

         84.   The fairness and reasonableness of the consideration to be paid for the

Assets by the Winning Bidder, as may be declared at the Sale Hearing, will be

conclusively demonstrated by the exposure of the opportunity to the marketplace.

         85.   The Debtor has proposed a fair and open process for achieving the

objective of obtaining the highest or best offer and sale of the Assets for the benefit

of the Debtor’s estate and its creditors. The Debtor’s decision to proceed with the

sale process is consistent with sound business judgment.

         86.   Under the circumstances, the Bidding Procedures and Auction process

represent the best way to achieve substantial consideration for the Debtor’s business

and offer the best resolution to the Debtor’s current financial situation in the



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manner that will maximize the value available to the Debtor’s estates and its

creditors.

         87.   The Debtor believes that one or more of the tests under section 363(f)

will be satisfied with respect to the transfer of the Assets pursuant to a Sale Order.

In particular, the Debtor believes that section 363(f)(3) and/or (5) will be satisfied.

         88.   The Debtor believes that good cause exists to sell the Debtor’s assets

at Auction. The Auction conducted substantially in accordance with the proposed

Bidding Procedures will enable the Debtor to obtain the highest and best offer for

the Assets, thereby maximizing the value of the Assets for the benefit of their

creditors.

                                     NOTICE

         89.   Immediately after the entry of the Order approving the relief requested

herein (the “Bidding Procedures Order”), the Debtor proposes to serve the Bidding

Procedures Order and Bidding Procedures (in the form approved by the Court), via

the Court’s ECF system, electronic mail, facsimile, or Federal Express for

overnight delivery, as the case may be, upon (i) the United States Trustee; (ii) all

secured creditors; (iii) the Debtor’s twenty (20) largest unsecured creditors; (iv) all

parties that have requested special notice pursuant to Bankruptcy Rule 2002; and

(v) all other entities known to have expressed an interest in a transaction with




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respect to all or part of the Assets, (vi) E&J Associates, LLC, and (vii) 315-317

SMS, LLC.

         90.   The notices to be provided and the method of service proposed herein

constitute good, proper and adequate notice of the sale of the Assets and the

proceedings to be had with respect thereto.

                                  CONCLUSION

         WHEREFORE, the Debtor respectfully requests that the Court (i) issue the

Bid Procedures Order, substantially in the form attached hereto as Exhibit A, (ii)

issue the Sale Order, (to be filed as a proposed order at a later date), after the Sale

Hearing, and (iii) grant such other and further relief as the Court deems just and

proper.


                                             Respectfully submitted,

                                             SCHAFER AND WEINER, PLLC

                                             /s/ Howard Borin
                                             KIM HILLARY (P67534)
                                             HOWARD BORIN (P51959)
                                             Proposed Attorneys for Debtor
                                             40950 Woodward Ave., Ste. 100
                                             Bloomfield Hills, MI 48304
                                             (248) 540-3340
                                             khillary@schaferandweiner.com
Dated: August 27, 2024




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                                       Exhibit A

                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:                                                 Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a                In Proceedings Under
M-Den, Inc., d/b/a The M Den                           Chapter 11

                                                       Hon. Thomas J. Tucker
                     Debtor.
                                          /

 ORDER (I) APPROVING LIDS HOLDINGS, INC., OR ITS DESIGNATED
 SUBSIDIARY AS STALKING HORSE BIDDER, (II) AUTHORIZING THE
  DEBTOR’S ENTRY INTO AN ASSET PURCHASE AGREEMENT, (III)
  AUTHORIZING THE SALE OF THE DEBTOR’S ASSETS FREE AND
  CLEAR OF ALL ENCUMBRANCES, (IV) APPROVING CERTAIN BID
PROCEDURES, BID PROTECTIONS AND DEADLINES, (V) SCHEDULING
     A SALE HEARING, AND (VI) GRANTING RELATED RELIEF

         Heritage Collegiate Apparel, Inc., f/k/a M-Den, Inc., d/b/a The M Den (the

“Debtor”) having filed its Motion for Entry of an Order (I) Approving Lids Holdings,

Inc., or its designated subsidiary as Stalking Horse Bidder, (II) Authorizing the

Debtor’s Entry Into An Asset Purchase Agreement, (III) Authorizing The Sale of the

Debtor’s Assets Free and Clear of All Encumbrances, (IV) Approving Certain Bid

Procedures, Bid Protections and Deadlines, (V) Scheduling a Sale Hearing, And (VI)

Granting Related Relief (“Motion”); this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); this Court having found that venue of

this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

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and 1409; this Court having found that the relief requested in the Motion is in the best

interests of the Debtor’s estates, its creditors, and other parties in interest; this Court

having found that the Debtor’s notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements

in support of the relief requested therein at a hearing before this Court (the “Sale

Hearing”); this Court having determined that the legal and factual bases set forth in

the Motion and at the Sale Hearing establish just cause for the relief granted herein;

and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor, this Court HEREBY FINDS THAT:

         A.     The findings and conclusions set forth herein constitute the Court’s

    findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made

    applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that

    any of the following findings of fact constitute conclusions of law, they are adopted

    as such. To the extent any of the following conclusions of law constitute findings of

    fact, they are adopted as such.

         B.     The Bidding Procedures1 are fair, reasonable, and appropriate under the

circumstances of this case and are designed to promote participation and active

bidding.




1
 All capitalized terms not defined in this Order shall have the meanings ascribed to
such   terms in the Motion.
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         C.    The Bidding Procedures were negotiated at arm’s length, in good faith,

and without collusion.

         D.    The Debtor engaged in a robust and extensive marketing and sale process

prior to the Petition Date to solicit and develop the highest or otherwise best offer for

its Assets.

         E.    The Break-up Fee and Overbid Protections (“Bid Protections”) set forth

in the Bidding Procedures shall be deemed an actual and necessary cost of preserving

the Debtor’s estates within the meaning of sections 503(b) and 507(a)(2) of the

Bankruptcy Code and treated as an allowed administrative expense claim against the

Debtor’s estates pursuant to sections 503(b) and 507(a)(2) of the Bankruptcy Code.

         F.    The Bid Procedures do not prohibit credit bidding in accordance with 11

U.S.C. §363(k).

         IT IS, THEREFORE, HEREBY ORDERED THAT:

         1.    The Motion hereby is approved and granted in all respects, except as

expressly set forth herein.

         2.    All objections to the relief granted herein that have not been withdrawn

with prejudice, waived, or settled, and all reservations of rights and/or statements

included in such objections, are overruled and denied on the merits with prejudice, and

the Bidding Procedures are approved as set forth herein.

         3.    Lids Holdings, Inc., or its designated subsidiary (“Stalking Horse

Bidder”) is deemed to be a Qualified Bidder and is approved as the Stalking Horse

Bidder.
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         4.     In the event that Debtor receives a Qualified Bid (as defined in the Bid

Procedures) and Stalking Horse Bidder is not the successful bidder, Stalking Horse

Bidder shall receive a breakup fee of $225,000.

         5.     The following dates and deadlines are approved:

               September 6, 2024               Bid Deadline
               September 8, 2024               Deadline for Debtor to notify Potential
                                               Bidders of whether their Bids are
                                               Qualified Bids
               September 10, 2024              Auction (if necessary)
               September 10, 2024              Deadline for Debtors to file and serve
                                               Notice of Successful Bidder(s)
               September 11, 2024              Deadline to object to the Sale of the
                                               Assets
               September 12, 2024              Sale Hearing

The other hearing dates, deadlines, and notice requirements set forth in the Motion

also are approved.

         6.     If the Debtor determines not to conduct an Auction, it shall file a notice

with the Court of such determination within one (1) business day of their making such

determination.

         7.     The Sale Hearing may be adjourned by announcement in open Court or

on the Court’s calendar without any further notice required.

         8.     If the Stalking Horse Bidder is determined at the Sale Hearing to be the

Winning Bidder, the Debtor be authorized and entitled to accept the Stalking Horse

Bid and to enter into, and to perform their obligations under, a related Asset Purchase

Agreement, as the same may be modified, or otherwise amended, prior to the closing



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thereof by agreement of the Debtor, in its good faith business judgment, and of the

Stalking Horse Bidder.

         9.    Immediately after the entry of this Order, Debtor shall serve this Order

via the Court’s ECF system, electronic mail, facsimile, or Federal Express for

overnight delivery, as the case may be, upon (i) the United States Trustee; (ii) all

secured creditors; (iii) the Debtor’s twenty (20) largest unsecured creditors; (iv) all

parties that have requested special notice pursuant to Bankruptcy Rule 2002; and (v)

all other entities known to have expressed an interest in a transaction with respect to

all or part of the Assets, (vi) E&J Associates, LLC, and (vii) 315-317 SMS, LLC.

         10.   Except as expressly provide herein, nothing in this Order or the Bidding

Procedures shall be deemed a waiver of any rights, remedies or defenses that any party

intertest (including the Debtor and the Stalking Horse Bidder) has or may have under

applicable bankruptcy and non-bankruptcy law.

         11.   Notwithstanding Bankruptcy Rule 6004(h), this Order shall be

immediately effective and enforceable upon entry hereof.

         12.   The Debtor is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

         13.   This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




                                        UNITED STATES BANKRUPTCY JUDGE

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                                         EXHIBIT B

                                 BID PROCEDURES
                           Heritage Collegiate Apparel, Inc.

Set forth below are the procedures to be employed by Heritage Collegiate Apparel, Inc., f/k/a M-
Den, Inc., d/b/a The M Den (“Seller”) with respect to the proposed disposition of the Seller’s
right, title and interest in and to certain “Assets” as more particularly defined in the Stalking
Horse Bid Term Sheet between Seller and Lids Holdings, Inc., or its designated subsidiary (the
“Stalking Horse Bidder”). Unless otherwise indicated, capitalized terms shall have the
meanings ascribed to them in the Bid Procedures Order

The Seller has entered into a Stalking Horse Bid Term Sheet with the Stalking Horse Bidder for
the acquisition by the Stalking Horse Bidder of certain assets of Seller (the “Stalking Horse
Bid”). The proposed sale to the Stalking Horse Bidder is subject to higher or better offers
pursuant to these Bid Procedures, as follows:

               1. Bid Deadline: A Qualified Bid for the Assets must be in writing and actually
                  received on or before 5:00 p.m. prevailing Eastern Time on September 6,
                  2024 (the “Bid Deadline”). Any party other than the Stalking Horse
                  Bidder that does not submit a Qualified Bid by the Bid Deadline will not
                  be allowed to (a) submit any offer after the Bid Deadline, or (b)
                  participate in the Auction.

               2. Due Diligence: The due diligence period for parties other than the Stalking
                  Horse Bidder shall extend through and including the Bid Deadline.

               3. Qualified Bids: A “Qualified Bid” is a bid that the Seller determines in its
                  sole and absolute discretion (a) is a higher and better bid than the Stalking
                  Horse Bid, and (b) complies with all of the following:

                      i. It is irrevocable until the earlier of (i) the approval by the Bankruptcy
                         Court of the winning bidder, and (ii) the conclusion of the Auction;
                         provided, however, that if such Qualified Bid is selected as the highest
                         or otherwise best Qualified Bid (the “Winning Bid”, and the party
                         submitting the Winning Bid, the “Winning Bidder”) or the Backup
                         Bid (as defined below), it shall remain irrevocable until the closing of
                         the Sale to the Winning Bidder or the Backup Bidder (defined below),
                         as the case may be;

                      ii. It includes a binding term sheet that is marked to show any differences
                          from the Stalking Horse Bid, including the purchase price, which shall
                          be payable in United States Dollars (the “Proposed Purchase Price”);

                     iii. If Seller files a proposed APA with the Stalking Horse Bidder on or
                          before September 3, 2024 (the “Stalking Horse APA”), a marked-up
                          version of the Stalking Horse APA showing the proposed changes to


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                          the Stalking Horse APA shall be included as part of any bid
                          submission.

                   iv. It is for the purchase of all of the Assets that are the subject of the
                       Stalking Horse Bid, to be purchased in a single transaction;

                    v. The Proposed Purchase Price includes cash consideration (“Proposed
                       Cash Consideration”) that is at least $250,000 greater than the
                       Stalking Horse Bid total cash consideration in the Stalking Horse Bid;

                   vi. It does not include any request or entitlement to any breakup fee,
                       expense reimbursement or similar type of payment;

                   vii. It is not conditioned on (i) the outcome of unperformed due diligence
                        by the bidder, or (ii) obtaining any financing.

                  viii. Includes an acknowledgement and representation that the bidder has
                        had an opportunity to conduct any and all required due diligence prior
                        to making its bid;

                   ix. It includes an acknowledgement and representation that the bidder (i)
                       has relied solely upon its own independent review, investigation and/or
                       inspection of any documents and/or the Assets to be acquired and
                       liabilities to be assumed in making its bid; (ii) did not rely upon any
                       written or oral statements, representations, promises, warranties or
                       guaranties whatsoever, whether express or implied (by operation of
                       law or otherwise), regarding the Assets to be acquired or liabilities to
                       be assumed or the completeness of any information provided in
                       connection therewith, including by Seller, their professionals or any of
                       their respective professionals and advisors, (iii) is a sophisticated party
                       capable of making its own assessments in respect of making its bid;
                       and (iv) has had the benefit of independent legal advice in connection
                       with its bid;

                    x. It includes evidence, in form and substance reasonably satisfactory to
                       Seller, of authorization and approval from the bidder’s board of
                       directors (or comparable governing body) with respect to the
                       submission, execution, delivery and closing of the purchase of the
                       Assets;

                   xi. It is accompanied by a refundable deposit (the “Deposit”) in the form
                       of a wire transfer (to Seller’s counsel’s bank account), in accordance
                       with wiring instructions to be provided to competing bidders), in an
                       amount equal to the greater of (A) $250,000 and (B) 10% of the
                       Proposed Cash Consideration, which such Deposit shall be held and
                       disbursed with in accordance with these Bid Procedures and the APA;

                   xii. it provides for closing of the Sale by no later than September 17, 2024;


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                    xiii. it provides evidence satisfactory to the Seller that such Qualified
                          Bidder has the wherewithal and financial ability to consummate the
                          purchase and sale of the Assets in accordance with its Qualified Bid.
                          For the avoidance of doubt, Stalking Horse Bidder and Legends
                          Global Merchandise, LLC or its affiliates have satisfied this provision;

                    xiv. it contains other information reasonably requested by Seller, or its
                         professionals or advisors; and

                     xv. it is received no later than the Bid Deadline.

               4. Return of Deposit: All Deposits shall be held by the Seller’s counsel in trust.
                  If a Qualified Bidder becomes the Winning Bidder, then the Deposit paid by
                  the Winning Bidder whose bid is approved at the Sale Hearing shall be
                  applied to the purchase price to be paid by the Winning Bidder upon closing
                  of the transaction. The Deposit paid by the Backup Bidder (as defined
                  below), if there is a Backup Bidder, shall be retained until the closing of the
                  sale to the Winning Bidder or, if the Backup Bidder becomes the ultimate
                  purchaser pursuant to the Bid Procedures, shall be applied to the purchase
                  price to be paid by the Backup Bidder upon closing of the sale. The Deposits
                  of all bidders (including the Stalking Horse Bidder) not selected as having the
                  highest or otherwise best Qualified Bid or selected as the Backup Bidder shall
                  be returned to such bidders within two (2) business days following the
                  Auction. If an entity selected as the Winning Bidder (including, if selected as
                  the Winning Bidder, the Backup Bidder) breaches its obligations to close, it
                  shall forfeit its Deposit to the Seller; provided, however, that the forfeit of
                  such Deposit shall be in lieu of any other rights in law or equity that Seller has
                  against such breaching entity.

               5. Break-Up Fee: Seller has determined, in an exercise of its business judgment,
                  that payment of a break-up fee of $225,000 as provided in the Stalking Horse
                  Bid (the “Break-Up Fee”) is necessary to induce the Stalking Horse Bidder
                  to present the Stalking Horse Bid and participate in the Auction, and Seller
                  deems such protections appropriate, necessary and value-additive to the
                  process under the circumstances. Accordingly, if the Stalking Horse Bid is
                  not ultimately the Winning Bid, then the Seller shall pay the Break-Up Fee to
                  the Stalking Horse Bidder in cash concurrent with the closing of the sale to the
                  Winning Bidder (or Backup Bidder as the case may be);

               6. No Qualified Bids. If no timely Qualified Bids other than the Stalking Horse
                  Bid (which shall be considered a Qualified Bid by the Stalking Horse Bidder
                  for all purposes of these Bid Procedures) are submitted on or before the Bid
                  Deadline, then Seller shall not hold an Auction and shall request at the Sale
                  Hearing that the Stalking Horse Bidder be deemed the “Winning Bidder” (as
                  defined below) and that the Bankruptcy Court approve the Stalking Horse
                  APA and the transactions contemplated thereunder.



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               7. Auction: In the event that Seller timely receives at least one Qualified Bid in
                  addition to the Stalking Horse Bid, then Seller shall conduct an Auction.
                  Unless Seller announces a different time and place with notice to all entities
                  submitting a Qualified Bid, the Auction will be conducted at Schafer and
                  Weiner, PLLC, 40950 Woodward Ave., Suite 100, Bloomfield Hills, MI
                  48304 on September 10, 2024 at 10:00 a.m. to determine the Winning Bidder.
                  Any bidder submitting a Qualified Bid may appear and submit its highest and
                  best bid at the Auction. The Stalking Horse Bidder shall be deemed to be a
                  bidder submitting a Qualified Bid. The Auction may be adjourned by
                  announcement at the Auction without further notice. Only the Stalking Horse
                  Bidder and the other persons who submitted Qualified Bids prior to the Bid
                  Deadline shall be entitled to make any subsequent bids at the Auction.

               8. Auction Procedures: After the expiration of the Bid Deadline, Seller shall
                  disclose the terms and conditions of any and all Qualified Bids to the Stalking
                  Horse Bidder and all other Qualified Bidders, and shall advise the Stalking
                  Horse Bidder and all other Qualified Bidders of what Seller deems to be the
                  highest or otherwise best Qualified Bid for purposes of the start of the
                  Auction. Subsequent bids (each, an “Overbid”) may only be made at the
                  Auction and shall be at least (i) $25,000 over the previous bid plus (ii) for any
                  bidder other than the Stalking Horse Bidder, the Breakup Fee (a “Minimum
                  Overbid”), and each successive Overbid shall exceed the then-existing
                  Overbid by an incremental amount that is not less than the Minimum Overbid.
                  Seller may, in its business judgment, announce increases or reductions to the
                  Minimum Overbid at any time during any Auction after the initial Minimum
                  Overbid. For the avoidance of doubt, each successive Bid that a Qualified
                  Bidder may submit at any Auction must contain a Purchase Price in cash, cash
                  equivalents, or such other consideration that Seller, in its business judgment
                  deems equivalent that exceeds the then-existing highest Bid by at least the
                  amount of the Minimum Overbid. Each Qualified Bidder will be permitted a
                  reasonable time to respond to previous bids at the Auction, as determined by
                  Seller. During the Auction, Seller shall, after submission of each Overbid,
                  promptly inform each Qualified Bidder of the terms of such Overbid and
                  inform each Qualified Bidder whether such Overbid reflects, in Seller’s view,
                  the then highest or otherwise best bid(s) for the applicable Assets. To remain
                  eligible to participate in the Auction, in each round of bidding, each Qualified
                  Bidder must submit an Overbid with respect to such round of bidding and to
                  the extent a Qualified Bidder fails to submit an Overbid with respect to such
                  round of bidding, such Qualified Bidder shall be disqualified from continuing
                  to participate in the Auction. The Auction will be transcribed to ensure an
                  accurate recording of the bidding at the Auction. At the Auction, bidding may
                  continue until the Seller determines that it has received the highest or
                  otherwise best bid for the Assets. After the Seller makes such determination,
                  the Auction will be closed.

               9. Determination of Winning Bidder. The Seller will determine and announce at
                  the conclusion of the Auction which Qualified Bid it has selected as the


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                 Winning Bid. At the same time, the Seller will identify the next highest or
                 otherwise next best Qualified Bid and announce that the bidder providing such
                 bid has been selected as the “Backup Bidder” (the Backup Bidder’s highest or
                 otherwise best bid, the “Backup Bid”). If a Backup Bidder is identified in
                 accordance with the Bid Procedures, then the Backup Bid shall remain open
                 until the closing of the sale to the Winning Bidder, and available for the
                 Seller’s to consummate in the event the Winning Bidder fails to timely
                 consummate the closing.




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                                   EXHIBIT C




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